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                                                                 Friday, 24 August, 2018 05:18:54 PM
                                                                         Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )       Hearing Requested
                                          )
       Defendant.                         )

                    MOTION TO BAR AND SUPPRESS IDENTIFICATION
                            TESTIMONY AND EVIDENCE

       Now comes the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and pursuant to Fed. R. Crim. P. 12(b)(3)(C), and Fed. R. Evid. 401, 403, and

404(b), moves this Court for the entry of an Order barring and suppressing certain

identification testimony and evidence of two witnesses identified herein as “EH” and

“KK” whom the Government may call to testify against Mr. Christensen at the trial of

this cause, and in support thereof states as follows:

                                   Factual Background

       (A)    Testimony of “EH”

       1.     On June 9, 2017, at approximately 9:27 a.m., a female graduate student at

the University of Illinois at Champaign-Urbana, (hereinafter referred to as “EH”),

telephoned the University of Illinois Police Department on its non-emergency number

to report “suspicious activity” she witnessed on Stoughton Street, between Busey


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Avenue and Lincoln Avenue, in Urbana, Illinois. According to EH, just minutes earlier,

while walking eastbound on Stoughton toward a bus stop, she was approached by a

man driving a black sedan who showed her a badge that was on a chain that he pulled

out of his shirt and claimed to be an “undercover cop” who was “doing some

undercover work in the area.” EH told the police dispatcher that the man asked if he

could ask her a few questions, and she replied, “yes.” The man then asked her to get in

his car, and EH said “no.” The man then said, “Okay, well, I just wanted to ask you if

you had seen anything strange in the area to give the police a call.” EH replied, “Okay,”

and the man drove away.

      2.     On June 12, 2017, at approximately 8:20 p.m., EH was summoned to the

University of Illinois Police Department where she met with Officer Hurless and FBI

Agent Tenaglia who interviewed her about the “suspicious activity” call she had made

to the police on June 9. During the interview, EH told Officer Hurless and Agent

Tenaglia that on June 9, 2017, at approximately 9:30 a.m., she had parked her car on

Stoughton and was walking toward a bus stop when a man, who was driving

eastbound on Stoughton, pulled up and said, “excuse me.” EH said that the man was

leaning over in his car and was wearing a “sheriff’s star” on a chain that was around his

neck. The man stated, “I’m an undercover cop, working in the area, I was wondering if I

could ask you a few questions.” EH walked up to the car, and the man repeated what

he had said. EH said yes, she would answer questions. The man asked her to get in the

car, and she said no and began to walk away. The man stated that if she saw anything

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suspicious she should call the police and drove away. EH could not recall which way

the man drove off.

        3.      The accounts of the description EH gave of the man by the FBI and the

UIPD differ slightly. According to the UIPD, EH described the man as a white male, in

his30’s, clean shaven, clear complexion, attractive, and well spoken, wearing dark

aviator style sunglasses, and a dark crew neck t-shirt. She described the badge as a

“silver sheriff’s star” with black leather backing. According to the FBI, EH described

the man as slim and fit, clean shaven, “probably in his early 30’s, wearing dark sunglasses

possibly aviator style and a black t-shirt, with dark short hair (not a military cut), no

tattoos and no noticeable earrings.1

        4.      EH described the car as a black, four door sedan. She did not know its

make or model, nor could she recall anything distinctive about the vehicle in regards to

damage, bumper stickers, or registration information.

        5.      On June 14, 2017, at approximately 7:49 p.m., EH was summoned to the

FBI Resident Agency Office in Champaign, Illinois, to view a photographic array

depicting six white males that was composed by FBI Agent Manganaro from drivers’

license photos pulled from the Illinois Secretary of State’s data base. Attached hereto

and marked “Exhibit 1-1 to 1-6,” are black and white copies of the six photographs that

Agent Manganaro used to compose the array. Of the six white males whose


1
  The interview of EH was audio and video recorded. Undersigned counsel have requested that the
government provide them with copies of the recordings so that they can identify the precise description
that EH gave, but have yet to receive a response to that request.
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photographs composed the array, all of the men appear to have facial hair, even though

EH described the man driving the black sedan as “clean shaven.” Included within the

array was a driver’s license photo of Mr. Christensen as the third photo in the six-photo

array.2

          6.    Once EH arrived at the FBI office, she met with FBI Agents Tenaglia and

Jerge who showed her the six photos one at a time and told her to take as much time as

she needed to review the photos and to determine whether EH recognized any of the

individuals.

          7.    After viewing the six photos, EH stated that she believed that individual

#3 [Mr. Christensen] “…may have shared the most characteristics with the individual

who approached her in the car due to his short, dark hair, thin lips and skin tone.” EH,

however, “was not positive and could not say for certain if the individual she saw was

depicted...[because]… [i]t was difficult due to the individual wearing sunglasses at the

time.” Moreover, EH said nothing to the agents about the fact that the individual in

photograph #3 [Mr. Christensen] clearly had facial hair, even though her earlier




2
 On December 28, 2017, Defense counsel served supplemental discovery requests upon Government
counsel seeking additional discovery concerning the FBI’s administration of the photographic array used
in this case. Those requests include, but are not limited to, all reports and memoranda relating to the FBI
Agents’ compliance with the US. Dept. of Justice Eyewitness Identification Procedures for Conducting
Photo Arrays, as contained in the Memorandum of January 6, 2017, of the Deputy Attorney General to all
Heads of Department Law Enforcement Components. On July 11, 2018, Government counsel responded,
in part, by stating that “the defense is not entitled to reports and memoranda relating to FBI ‘compliance’
with an unenforceable, internal DOJ memorandum…[but] in the spirit of cooperation, the United States
has requested FBI Special Agent Anthony Manganaro to prepare and additional report summarizing the
procedures used during the out-of-court identifications at issue.” As of this date, Government counsel
have furnished no such supplemental report to the defense.
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description of the man she had given to the police on June 12 was that he was “clean

shaven.”

       (B)     Testimony of “KK”

       8.      On June 13, 2017, at approximately 3:30 p.m., a female student at the

University of Illinois at Champaign-Urbana (hereafter referred to as “KK”), telephoned

the University of Illinois’ Police Department to report a suspicious incident that

occurred six days earlier on June 7, 2017. Upon taking her call, the police asked KK to

come to the department later that day for an interview. Once she arrived at the police

department, KK was interviewed by Officers Stiverson and Hurless and told them that

on Wednesday, June 7, at 3:52 p.m., she was walking northbound on the west sidewalk

of Lincoln Avenue just north of University Avenue in Urbana, Illinois, when a white

male, fair-skinned with short, light hair, wearing dark sunglasses and a dark colored

short-sleeved shirt, and driving a dark, older hatchback, “cat called” her while he was

stationary in traffic in the northbound lane of Lincoln Avenue. KK told the officers that

the man said, “Hey! Hey!” while he was seated behind the wheel of his vehicle with his

arm hanging out of the window, and she believed that he was trying to get her to come

to his vehicle while he was stopped in traffic. KK gave the man a “mean stare,” and

continued walking northbound on the sidewalk. The man drove off northbound on

Lincoln Avenue. KK told the police that she could identify the man if she saw a picture

of him.



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       9.     On June 14, 2017, at approximately 6:58 p.m., KK was summoned to the

FBI Resident Agency Office in Champaign, Illinois, to view the same photographic

array depicting six white males that was shown to EH later that evening. (See attached

Exhibit 1-1 to 1-6). Included within the array was a driver’s license photo of the

Defendant as the third photo in the six-photo array. When shown the photo array one

photo at a time by FBI Agents Tenaglia and Jerge, KK stated that she believed “that

individual #6 [not Mr. Christensen] may have shared the most characteristics with the

individual who approached her in the car due to his short hair and tan face,” despite

having previously described the man as “fair-skinned.” KK, however, “was not positive

and could not say for certain if the individual she saw was depicted...[because]… [i]t

was difficult due to the individual wearing sunglasses at the time.”

                                   Argument

       10.    This Court should bar all evidence and testimony of EH’s incident of June

9, 2017, and KK’s incident of June 7, 2017, and both of their examinations of the

photographic array on June 14, 2017, for the simple reason that such evidence is not

relevant to any material fact or proposition in this case. EH’s utterly vague description

of the “white male in the black four-door sedan” whom she encountered on the

morning of June 9, 2017, and her selection of photograph #3 in the array because the

person depicted therein “shared the most characteristics with the individual who

approached her in the car,” is so general and nondescript as to amount to no

identification of Mr. Christensen at all. And KK’s identification of another individual’s

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photo from that that of Mr. Christensen from the same photo array strongly establishes

that Mr. Christensen was not the man who “cat called” her from his car on June 7, 2017.

Because such evidence does not come close to proving, by any reliable means, that Mr.

Christensen was the man who approached EH on June 9, 2017, and KK on June 7, 2017,

while seated in a vehicle and wearing sunglasses, this Court should bar the

Government from making any use of it as evidence at the trial of this case.

       11.    It is axiomatic that evidence is relevant and admissible if it has “any

tendency to make the existence of any fact that is of consequence to the determination

of the action more probable or less probable than it would be without the evidence.”

Fed. R. Evid. 401, Relevant evidence “may be excluded if its probative value is

substantially outweighed by a danger of unfair prejudice, confusing the issues,

misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

evidence. Fed. R. Evid.403, In United States v. Westmoreland, 312 F.3d 302, 311 (7th Cir.

2002), the Seventh Circuit found that it was error for the district court to admit into

evidence a false letter that was purportedly authored by the defendant’s wife and

submitted at the sentencing hearing of the defendant’s earlier drug trial. According to

the court, the relevance of the letter was questionable, given the letter’s true author was

never established, and there was no evidence that the defendant knew of or authorized

the letter being submitted to the court in an effort or attempt to obstruct justice.

       12.    Similarly, in this case, the expected testimony of EH and KK concerning

their vague descriptions of the white male wearing dark sunglasses who approached

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them in his vehicle falls far short of establishing that Mr. Christensen was the individual

who approached them on separate dates. And finally, whatever probative value, if any,

such evidence may have, it is substantially outweighed by the danger of unfair

prejudice, confusing the issues, and misleading the jury that would result to Mr.

Christensen if such evidence is admitted at trial in a case where he is charged with

kidnapping resulting in death. For all of these reasons, this Court should bar the

Government from making any use at trial of EH’s and KK’s testimony concerning the

events of June 7 and 9, 2017, and their viewing the photographic arrays on June 14,

2017.

        13.   Such evidence should also be suppressed because, upon receipt of

additional discovery on this matter, and as will be proven at a hearing on this motion,

both the manner in which the photographic array was composed, as well as the manner

in which it was administered and shown to EH and KK was “so [unnecessarily]

suggestive as to give rise to a very substantial likelihood of irreparable

misidentification.” Perry v. New Hampshire, 565 U.S. 228 232 (2012) (quoting Simmons v.

United States, 390 U.S. 377, 384 (1968)).

        14.   A court must conduct a two-step inquiry in assessing the admissibility of

eyewitness identification testimony and evidence. First, the court must look to whether

the identification procedure employed by the police was unduly suggestive. Secondly,

if it was, then the court must determine whether the totality of the circumstances



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nevertheless shows that the testimony was reliable. Perry, supra; Simmons, supra; Neil v.

Biggers, 409 U.S. 188, 198 (1972); United States v. Curry, 187 F.3d 762, 768 (7th Cir. 1999).

       15.    The Supreme Court has said that “reliability is the linchpin in determining

the admissibility of identification testimony.” Manson v. Brathwaite, 432 U.S. 98, 114

(1977). In assessing whether an identification was reliable, a court should consider the

following factors: (1) the opportunity of the witness to view the criminal at the time of

the crime (or prior to the identification), (2) the witness's degree of attention during

such an opportunity, (3) the accuracy of the witness's prior description of the criminal, if

he made one, (4) the level of certainty demonstrated at the time of the identification,

and (5) the time between the crime and the identification. d. at 114; Curry, 187 F.3d at

768.

       16.    In United States v. Ford, 683 F.3d 761, 766 (7th Cir. 2012), the Seventh

Circuit observed that, “[a]s awareness of the frequency of mistakes in eyewitness

identification has grown (see, e.g., Jon B. Gould & Richard A. Leo, “One Hundred Years

Later: Wrongful Convictions After a Century of Research,” 100 J. Crim. L. &

Criminology 825, 841–42 (2010); Innocence Project, “Reevaluating Lineups: Why

Witnesses Make Mistakes and How to Reduce the Chance of a Misidentification” 3–4

(2009), www. innocence project. org/docs/Eyewitness_ ID_ Report. pdf (visited May

31, 2012); Richard A. Wise et al., “How to Analyze the Accuracy of Eyewitness

Testimony in a Criminal Case,” 42 Conn. L. Rev. 435, 440–41 (2009); Sandra Guerra

Thompson, “Beyond a Reasonable Doubt? Reconsidering Uncorroborated Eyewitness

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Identification Testimony,” 41 U.C. Davis L. Rev. 1487, 1490–91, 1497–98 (2008); Brandon

L. Garrett, “Judging Innocence,” 108 Colum. L. Rev. 55, 60 (2008); Samuel R. Gross et al.,

“Exonerations in the United States 1989 Through 2003,” 95 J. Crim. L. & Criminology

523, 542 (2005)), so has the need for judges to be especially wary about suggestive arrays

shown potential witnesses.” This is so, because“[e]ven under the best circumstances, the

probability of erroneous identification of a stranger seen briefly is uncomfortably high.”

United States v. Brown, 471 F.3d 802, 804 (7th Cir. 2006). And yet, “despite its inherent

unreliability, much eyewitness identification evidence has a powerful impact on juries.”

Watkins v. Sowders, 449 U.S. 341, 352 (1981) (Brennan, J., dissenting).

       17.    In recognition of such concerns, former Deputy Attorney General Sally Q.

Yates, in her Memorandum to all heads of Department of Justice Law Enforcement

Agencies and all federal prosecutors concerning “Eyewitness Identification: Procedures

for Conducting Photo Arrays,“ issued January 6, 2017, stated, “[e]yewitness

identifications play an important role in our criminal justice system, both by helping

officers and agents identify suspects during an investigation and by helping juries

determine guilt at trial. It is therefore crucial that the procedures law enforcement

officers follow in conducting those identifications ensure the accuracy and reliability

of evidence elicited from eyewitnesses.” (See attached Exhibit 2-1 through 2-12)

(emphasis added). And to promote sound professional practices and consistency across

the Department’s law enforcement efforts, the memorandum outlines the various

procedures that federal law enforcement agents are required to employ in composing

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and administering photo arrays in criminal investigations effective January 6, 2017. (See

attached Exhibit 2-3 through 2-8).

        18.   In this case, based on the discovery furnished to the defense by the

Government to date, it is abundantly clear that the photographic array that FBI Agent

Manganaro composed, and the manner in which Agents Tenaglia and Jerge presented

the array to EH and KK on June 14, 2017, were in total derogation of almost all of the

procedures that the DOJ Memorandum requires federal law enforcement officers and

prosecutors to follow in administering photo arrays.

        19.   For example, the DOJ procedures require that when selecting additional

photographs of non-suspects for the photo array, the administrator should select at least

five others that resemble the witness’s description of the perpetrator at the time of the

incident, and the administrator should avoid using photos of individuals who have

different characteristics (e.g., hair style or facial hair) than those described. (Proc. 2.2,

2.3).

        20.   Here, however, while EH described the white male as “clean shaven,” and

KK offered no description of the suspect having facial hair or being “clean shaven,” all

six of the white males appearing in the photo array are sporting noticeable facial hair.

And with the black and white photos provided in discovery, none of the photos would

allow for EH or KK or anyone else to discern the color of each individual’s hair or tone

of complexion, or the color of the background of the photo.



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      21.     Secondly, the DOJ procedures require that the administrator must ensure

that he or she does not suggest to the witness- even unintentionally- which photograph

contains the image of the suspect. Oftentimes, the best and simplest way to achieve this

is by selecting an administrator who is not involved in the investigation and does not

know what the suspect looks like. But if that is not practicable, then the administrator

should adopt “blinded” procedures so that he or she cannot see the order or

arrangement of the photographs viewed by the witness or which photograph(s) the

witness is viewing at any particular moment. (Proc. 5.1-5.4). In this case, however, FBI

agent Tenaglia was actively involved in the investigation from its outset and knew of

Mr. Christensen’s identity at the time she administered the array to EH and KK, and yet

she and Agent Jerge administered the photo array to EH and KK, and did not adopt or

employ “blinded” procedures as required by the DOJ memorandum to ensure against

either or both agents from suggesting to the witness- even unintentionally- which

photograph contains the image of the suspect.

      22.    Thirdly, the procedures require that the administrator read specific

instructions to the witness using language similar to the following:

             6.3.1   "In a moment, you will be shown a group of photographs. The

      group of photographs may or may not contain a photograph of the person

      who committed the crime of which you are the victim [or witness]."

             6.3.2   "Sometimes a person may look different in a photograph than

             in real life because of different hair styles, facial hair, glasses, a hat, or

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other changes in appearance. Keep in mind that how a photograph was taken or

developed may make a person's complexion look lighter or darker than in real

life.''

          6.3.3 "Please let me know if you recognize the person who committed

the crime [or the actions you witnessed]. If you do recognize someone, please tell

me how confident you are of your identification."

          6.3.4 "You may not recognize anyone. That is okay. Just say so.

Whether or not you select someone, we will continue to investigate the case."

          6.3.5 "Do not assume that I know who committed this crime."

          6.3.6 "Pay no attention to any marking or numbers on the photographs

or any differences in the type or style of the photographs. They are not relevant

to identifying anyone in the photographs."

          6.3.7 "Please do not discuss this procedure or any photograph that

you may pick with any other witness in this case."

          6.3.8   "Please let me know if you do not understand these instructions or

if you have any questions."

          6.3.9 If sequential administration: "You are going to look at the

photographs one at a time. You may make a decision at any time. If you select a

photograph before you get to the end, our protocol requires that you look at the

rest of the photographs anyway. If, after seeing all the photographs, you want to

see one or more photographs again, you should look at the entire array again."

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       23.    In this case, however, the discovery does not indicate that the Agents gave

EH and KK any instructions at all before showing them the six photos in the array “one

at a time,” and telling them to take as much time as they needed to review the photos

and to determine whether they could recognize any of the individuals. Thus, by all

indications, EH and KK examined the array without any of the guidance and

instructions that the DOJ requires prior to showing the witness the array, so EH and KK

were free to assume that the suspect’s photo was included in the array.

       24.    Fourthly, the DOJ procedures require that if a witness makes an

identification, the administrator should ask the witness to state in his or her own words

how confident he or she is in the identification (known as a "statement of confidence'').

If the witness is vague in his or her answer, such as, "I think it's #4," the administrator

should say: "You said [I think it's #4]. What do you mean by that?" (Proc. 8.2, 8.3).

       25.    In this case, however, EH stated that she believed that individual #3 [Mr.

Christensen] “…may have shared the most characteristics with the individual who

approached her in the car due to his short, dark hair, thin lips and skin tone,” but “was

not positive and could not say for certain if the individual she saw was

depicted...[because]… [i]t was difficult due to the individual wearing sunglasses at the

time.” And KK stated that she believed that individual #6 (not Mr. Christensen)

“…may have shared the most characteristics with the individual who approached her in

the car due to his short hair and tan face,” but “was not positive and could not say for

certain if the individual she saw was depicted...[because]… [i]t was difficult due to the

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individual wearing sunglasses at the time.” Nothing is indicated in the Government’s

discovery that either agent ever asked EH or KK what each of them meant that

individual #3 or individual #6 “shared the most characteristics with the individual who

approached her in the car,” nor did they ask them to state in their own words how

confident they were in their identification as required by the procedures.

      26.    And finally, the DOJ rules require that the witness's identification of a

photo, if any, and the corresponding statement of confidence should be clearly

documented by video- or audio-recording the photo array, or the administrator

immediately writing down as close to verbatim as possible the witness's identification

and statement of confidence, as well as any relevant gestures or non-verbal reactions.

The witness should confirm the accuracy of the statement. (Proc. 9-1.1 and 9-1.2).

      27.    Here, again, there appears to have been no documentation by video- or

audio-recording of the photo array, nor any official report providing a verbatim

statement of the EH’s and KK’s responses and statement of confidence, as well as any

relevant gestures or non-verbal reactions. Nor is there any report or documentation that

EH and KK confirmed the agents’ account of the accuracy of her statement, as required

by the DOJ procedures.

      28.    Mr. Christensen further contends that the corrupting effect of the FBI’s

composition and administration of the photographic array to EH and KK makes any

photographic identification and testimony at trial by EH and KK both unreliable and

inadmissible as evidence.

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       29.    Accordingly, because the Government employed a photographic array

that was both unnecessarily suggestive and conducive to give rise to a very substantial

likelihood of irreparable misidentification, this Court should bar the Government from

introducing any identification testimony and evidence of EH and KK at trial. Perry, 565

U.S. at 232 ; Ford, 683 F.3d at 766.

       WHEREFORE, Mr. Christensen requests the entry of an Order suppressing:

       a.     Any and all evidence relating to the pre-trial identification of defendant

by EH or KK; and

       b.     Any in-court identification of Mr. Christensen by such witnesses as were

involved in the improper pre-trial identification procedures inasmuch as such

identification is the product of the improper pre-trial identification, unless the

Government shows by clear and convincing evidence that the in-court identification is

not tainted and is fully independent of the pre-trial identification.




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                                Respectfully submitted,

                                BRENDT A. CHRISTENSEN, Defendant

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                              CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to the filing: Mr. Eugene Miller and Bryan David Freres, Assistant United States

Attorneys, 201 South Vine Street, Urbana, IL 61801, and Mr. James B. Nelson, Trial

Attorney, Capital Case Section, 1351 F Street NW, Room 625, Washington, D.C. 20004.

A copy was also mailed to Mr. Christensen.

                                         /s/Elisabeth R. Pollock
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                             EXHIBIT 1-1
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                             EXHIBIT 1-2
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                       EXHIBIT 1-3
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                             EXHIBIT 1-4
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                         EXHIBIT 1-5
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                         EXHIBIT 1-6
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                             EXHIBIT 2-1
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                             EXHIBIT 2-2
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                         EXHIBIT 2-3
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                         EXHIBIT 2-4
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                         EXHIBIT 2-5
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                        EXHIBIT 2-7
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                        EXHIBIT 2-8
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                        EXHIBIT 2-9
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